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CLERK, U.S
                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


             UNITED STATES OF AMERICA                 ) No.        22cr460
                                                      )
                    V.                                ) Violations: 18 U.S.C. §§ 666(a)(l)(B),
                                                      )             1001, and 1952(a)(3)
             EMIL JONES, III
                                                                   Judge Wood
                                                                   Magistrate Judge Valdez
                                                COUNT ONE

                   The UNITED STATES ATTORNEY charges:

                   1.    At times material to this information:

                         a.     The State of Illinois was a government that received in excess of

            $10,000 in federal benefits during the period from January 1, 2019 through December

            31, 2019. The legislative branch of the State of Illinois was commonly known as the

            Illinois General Assembly, and was composed of two houses: the House of

            Representatives and the Senate.

                         b.    Defendant EMIL JONES, III was a publicly-elected Illinois State

            Senator and was an agent of the State of Illinois.

                         c.    Company A was a Chicago-area company that provided

            automated traffic enforcement systems, commonly known as red-light cameras,

            which enabled municipalities to enforce certain traffic violations and issue traffic­

            violation tickets. Company A did not provide any automated traffic enforcement

            systems to the City of Chicago. Individual A had an ownership interest in Company

            A. Unbeknownst to JONES, Individual A was cooperating with law enforcement.
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             d.    Individual B was an associate of JONES.

             e.    The Illinois Department of Transportation ("IDOT") approved the

installation and operation of red-Iight cameras within the State. In or around

February 2079, JONES introduced a bill, namely, Senate       Bill   1297,   that would
require IDOT to conduct a statewide study of automated traffic law enforcement

systems, which included red-light cameras. Senate BIII1297 would require IDOT to

report on the overall operation, usage, and regulation of automated traffic

enforcement systems, and to propose any recommendations IDOT deemed necessary

concerning such systems.

      2.     In or around 20L9, JONES agreed that, in        exchange       for   benefits

provided   by Individual A to JONES and Individual B, JONES would oppose
legislation that required the study of automated traffic enforcement systems located

outside of Chicago, and would   limit any legislation regarding IDOT's study of and
recommendations concerning automated traffic law enforcement systems to those

automated traffic enforcement systems utilized in Chicago, thereby excluding from

study and recommendations automated traffic enforcement systems utilized in

numerous other muncipalties that Company A served.
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      3.     Beginning in or around April 2019, and continuing until in or around

September 2019, at Chicago,    in the Northern District of lllinois, Eastern Division,
and elsewhere,

                                  EMIL JONES, III,

defendant herein, as an agent of the State of Illinois, corruptly solicited, agreed to

accept, and accepted things of value from Individual A, namely a $5,000 payment and

money for Individual B, intending to be influenced and rewarded in connection with

a business, transaction, and series of transactions of the State of   Illinois involving a

thing of value of $5,000 or more, namely, legislation in the Illinois General Assembly

concerning the operation of red-light cameras;

      In violation of Title 18, United States Code, Section 666(a)(1)(B).




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                                    COUNT TWO
      The UNITED STATES ATTORNEY further charges:

      On or about Ju.ly 24,2019, in the Northern District of Illinois, Eastern Division,

and elsewhere,

                                  EMIL JONES, III,
defendant herein, used a facility in interstate commerce, namely, an email account

and associated communication network operated by service provider Google, with

intent to promote, manage, establish, carry on, and facilitate the          promotion,

management, establishment, and carrying on of an unlawful activity, namely, a

violation of 720 ILCS 5/33-1(d) (Bribery) and 720 ILCS 5/33-3(a)(a) (Official

Misconduct), and thereafter, the defendant did perform and attempt to perform an

act to carry on and facilitate the promotion and carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Section 1952(a)(3).




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                                    COUNT THREE
         The UNITED STATES ATTORNEY further charges:

         1.     Paragraphs 1 and 2 ofCount One are incorporated here.

         2.     On or about JuIy 17, 2019, JONES told Individual A that he would

protect Company A and Individual A from legislation in the Illinois General Assembly

concerning the operation of red-light cameras in exchange for $5,000 for JONES and

a job   for Individual B.

         3.     On or about August 8, 2019, JONES told Individual A that if Individual

A contributed $5,000 by sponsoring an event, JONES and Individual A would not

have to report that contribution on Illinois campaign contribution reports.

         4.     On or about August 12, 2019, JONES and Individual A discussed how

much money Individual A would pay Individual B.

         5.    Prior to on or about September 24, 2019, the Federal Bureau of

Investigation and Internal Revenue Service had initiated an investigation of JONES

concerning potential violations of federal criminal     law.   The following matters,

among others, were material to the investigation:

                a.    Whether JONES had received and agreed to receive money and
                      benefits from Individual A, including but not limited to payments
                      to JONES and Individual B;

               b.     JONES's knowledge that he and Individual B received and would
                      receive money and benefits from Individual A; and

                c.    Why JONES had received and agreed to receive money and
                      benefits from Individual A.


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      6.     On or about September 24,2019, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                 EMIL JONES, III,
defendant herein, did knowingly and willfully make a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

Federal Bureau of Investigation, an agency within the executive branch of the

government of the United States, when he stated in substance the following:

             i.     When asked if he agreed to protect Company A and Individuai A
                    from legislation in the Illinois General Assembly concerning the
                    operation of red-Iight cameras in exchange for Individual A hiring
                    Individual B, JONES said that he did not.

             ii.    When asked if he discussed with Individual A how Individual A
                    could contribute money to him without having to report that sum
                    of money, JONES said that he had not.

             iii.   When asked if he knew how much money Individual A agreed to
                    pay Individual B, JONES said that he did not.

      In violation of Title 18, United States Code, Section 1001(a)(2).
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                                        Signed by Amatteet Bhachu on behalfofthe
                                        UNITED STATES ATTORNEY




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